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Moscow 21 December 2021

Deterioration of the financial condition of LLC "M 13” after the arrest of

the founder of the company Klyushin Vladislav.

After the arrest of the owner of LLC "M 13" Vla. Klyushin, the financial
condition of the company deteriorated significantly. Fearing for the stability of the
company in the absence of the owner of the company, the clients of LLC "M 13"
using the Software of M13 LLC "Katyusha", namely

e Concer Radioelectronic Technologies JSC (Revenue under the contract in

2020 —1.1 million US dollars, source:

https://zakupki.gov.ru/223/purchase/public/purchase/info/contractInfo html?

regNumber=32009215572 )
e Moscow Department of Information Technology (revenue under the contract
in 2020— US$ 2.15 million, source:

https://zakupki.gov .ru/epz/order/notice/ea44/view/common-

info.html?reg Number=01 73200001 420001523 )
they refused to renew contracts in 2021.

To prevent staff reduction (the number of employees by the average number
of employees is more than 100 people) in the context of the continuation of the
COVID-19 pandemic, Vladislav Klyushin decided to support the company in order
to close the lost profits under the above contracts at his own expense.

/ Aleksandr Badikov

CEO of “M13 LLC”

 
